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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


 CASY CARLTON, JONATHAN JONES                                                    PLAINTIFFS
 and BOBBY HARRISON


vs.                                     No. 4:17-cv-76-KGB


 JHOOK INVESTMENTS, INC., d/b/a                                               DEFENDANTS
 JHOOK TOWING AND RECOVERY;
 JEFF HOOKER and IVY HALL, INC.


                     DEFENDANTS’ PRETRIAL DISCLOSURE SHEET

       Defendants JHook Investments, Inc. d/b/a JHook Towing and Recovery (“JHook”), Jeff

Hooker, and Ivy Hall, Inc. (“Ivy Hall”), by and through their attorneys, Cox, Sterling, McClure &

Vandiver, P.L.L.C., for their Pretrial Disclosure Sheet, state:

       1.       The identity of the party submitting information.

       Defendants through their counsel.

       2.       The names, addresses, and telephone numbers of all counsel for the party.

       Brian A. Vandiver, contact information below.

       3.       A brief summary of claims and relief sought.

       Defendants agrees with Plaintiffs’ summary of the claims and relief sought but deny any

       liability or damages.

       4.       Prospects for settlement.

       None at this time.

       5.       The basis for jurisdiction and objections to jurisdiction.

       Federal question and supplemental jurisdiction. No objections to jurisdiction.



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6.       A list of pending motions.

None at this time.

7.       A concise summary of the facts.

Defendants’ incorporate by reference their Statement of Facts filed in support of

Defendants’ Motion for Summary Judgment.

8.       All proposed stipulations.

Defendants agree with Plaintiffs’ two proposed stipulations.

9.       The issues of fact expected to be contested.

Defendants agree with the issues of fact identified by Plaintiffs. In addition, issues of fact

were identified by the Court in its recent Order denying the motions for summary judgment.

10.      The issues of law expected to be contested.

Defendants agree with the issues of law identified by Plaintiffs. In addition, the parties

identified issues of law in their motions for summary judgment.

11.      A list and brief description of exhibits, documents, charts, graphs, models,

schematic diagrams, summaries, and similar objects which may be used in opening

statement, closing argument, or any other part of the trial, other than solely for

impeachment purposes, whether or not they will be offered in evidence. Separately

designate those documents and exhibits which they party expects to offer and those

which the party may offer.

Defendant expects to offer payroll records and exhibits to the depositions in this case.

Defendant may offer any other document produced during discovery or any of the written

discovery responses.




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12.       The names, addresses and telephone numbers of witnesses for the party.

Separately identify witnesses whom the party expects to present and those whom the

party may call. Designate witnesses whose testimony is expected to be presented via

deposition and, if not taken stenographically, a transcript of the pertinent portion of

the deposition testimony.

Defendant expects to present Jeff Hooker and Tim Moody.

Defendant may call Tony Martin, Jim Heverly, Steve Wilkinson, Tammie Moody, or any

other witness identified by the parties during discovery.

13. The current status of discovery, a precise statement of the remaining discovery

and an estimate of the time required to complete discovery.

Discovery is complete.

14. An estimate of the length of trial and suggestions for expediting disposition of the

action.

Two days

                                      Respectfully Submitted,

                                      COX, STERLING, McCLURE &
                                      VANDIVER, PLLC
                                      8712 Counts Massie Rd
                                      North Little Rock, AR 72113
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                                      (501) 954-7856 Facsimile
                                      bavandiver@csmfirm.com

                              By:            /s/ Brian A. Vandiver
                                      Brian A. Vandiver (Ark. Bar No. 2001078)




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 17, 2019, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to the
following:

       Joshua West – west@sanfordlawfirm.com
       Josh Sanford – josh@sanfordlawfirm.com
       SANFORD LAW FIRM, PLLC
       One Financial Center,
       650 S Shackleford, Suite 411
       Little Rock, AR 72211

                                                     /s/ Brian A. Vandiver
                                              Brian A. Vandiver (Ark. Bar No. 2001078)




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